         Case 1:05-cr-00351-LJO Document 91 Filed 07/03/12 Page 1 of 2


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 3   Fresno, California 93704
     Telephone (559) 431-9710
 4   Facsimile (559) 431-4108
 5   Attorney for Defendant, ELIZABETH MARIE BONILLA
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,     )         CASE NO. 05 CR 00351 OWW
11                                 )
               Plaintiff,          )          STIPULATION TO CONTINUE
12                                 )          SENTENCING HEARING AND
     vs.                           )          ORDER THEREON
13                                 )
                                   )
14   ELIZABETH MARIE BONILLA       )
                                   )          HEARING DATE: July 9, 2012
15                                 )          TIME: 10:00 a.m.
               Defendants.         )          Honorable Anthony W. Ishii
16                                 )
     ______________________________)
17
18                                     STIPULATION
19           It is hereby stipulated by and between the parties hereto
20   that the sentencing hearing in the above entitled matter now set
     for
21
     July 9, 2012, may be continued to October 22, 2012 at 10:00 a.m.
22
             Good cause exists to continue sentencing hearing in order to
23
     allow Defendant Bonilla additional time to participate in the
24
     residential drug treatment program at Tranquility House in Merced,
25
     California.
26
     DATED: July 2, 2012                 FLETCHER & FOGDERUDE, Inc.
27
28                                       /s/ Eric K. Fogderude
                                         ERIC K. FOGDERUDE
                                         Attorney for Defendant,
     U.S. vs. Bonilla, et al.                         Stipulation/Order to Continue Hearing
     Case No. 05-00351 OWW
         Case 1:05-cr-00351-LJO Document 91 Filed 07/03/12 Page 2 of 2


 1                                       ELIZABETH BONILLA
 2
 3   Dated: July 2, 2012                 Benjamin B. Wagner
                                         United States Attorney
 4
 5                                        /s/
                                         DUCE RICE
 6                                       Assistant US Attorney
 7
     Dated: July 2, 2012
 8
                                         /s/
 9                                       CASEY HORNER
                                         US Probation Officer
10
11                                        ORDER
12
             IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C.
13
     § 3161, subd.(h)(8)(A) and (B).         For the above stated reasons, the
14
     court finds that the ends of justice served by the dely outweigh
15
     the best interest of the public and the defendants in a speedy
16
     trial. Therefore, the court grants the stipulation that the
17
     sentencing hearing be continued to October 22, 2012 at 10:00 a.m.
18
19
     IT IS SO ORDERED.
20
21   Dated:    July 2, 2012
     0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
22
23
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26
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28


     U.S. vs. Bonilla, et al.                         Stipulation/Order to Continue Hearing
     Case No. 05-00351 OWW                   2
